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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Thunder Construction Corp

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6336 SW 11 Street
                                  Miami, FL 33144
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Thunder Construction Corp                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Thunder Construction Corp                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                  No
    pending or being filed by a
    business partner or an                    Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor                                                                    Relationship
                                                      District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                  No
    have possession of any
    real property or personal                        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            Yes.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                        It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                        Other
                                                     Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                        No
                                                        Yes.     Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative information

13. Debtor's estimation of             .          Check one:
    available funds
                                                     Funds will be available for distribution to unsecured creditors.
                                                     After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                     1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                                5001-10,000                                 50,001-100,000
                                            50-99
                                            100-199                                          10,001-25,000                               More than100,000
                                            200-999

15. Estimated Assets                        $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                            $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                            $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                            $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                   $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                           $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                          $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                        $100,000,001 - $500 million          More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Jerry Diaz                                                           Jerry Diaz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Ariel Sagre                                                           Date May 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ariel Sagre 557447
                                 Printed name

                                 Sagre Law Firm, P.A.
                                 Firm name

                                 5201 Blue Lagoon Drive, Suite 892
                                 Miami, FL 33126
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-266-5999                  Email address      law@sagrelawfirm.com

                                 557447 FL
                                 Bar number and State




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